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EXHIBIT S

Case 1:09-cv-00597-L|\/|B-TCB Document 41-20 Filed 10/23/09 Page 2 of 4 Pat’g?§FD#OFG*l

Roth, Me|issa R.

From: Dickinson, |Vliche|ie J.

Sent: Thursday, October 15, 2009 3:45 P|Vl
To: Candess Hunter

Cc: Roth, N|e!issa R.

Subject: RE: NE| laptop

l did not see this emaii before l sent my last email. l assume all issues are taken care of and you will provide us
with a date and time for the exchange and imaging of the tower.

From: Candess Hunter [mailto:candess@hhylaw.com]
Sent: Thursday, October 15, 2009 3:19 PM

To: Dickinson, Michel|e J.

Subject: NEI |aptop `

Only 45 minutes to go and, ifl don't hearfrom you, l will make the choice for you. Either it will go to NE|'s
office here in our building or to the DLA Piper ofhce in AZ (that l can see out my window). l\/lake the choice
in the next 45 minutes, or |'|| make it for you. No more tooling around

Candess J. Hunterl Esq.

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F’hoenix, Arizona 85016

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----- Original |V|essage ----
From: CJH

To: "Dickinson, |Vlichei|e J."
Sent: 10115!2009 10:30Al\il
Subject: RE: FW: Re: NE| |aptop

Niichelle, isabel is out of the ofhce today, but t saw this emai| and must respond You were informed on
September 10 that NE| was in possession of Joe's |aptop, that it had no NEI data on it and that Joe wanted
it back immediately The |aptop was in this building in AZ, but you and NE| refused to return it, and to make
matters worse, NEl removed it from the building and from Arizona (interstate transportation of stolen
goods). Now over a month |ater, you finally send this email, acknowledging that everything Joe told you
about the |aptop was true. Let me make myself clear. you are holding stolen propertyl The police are
being notified You can make all of the excuses that you want tol but continuing to hold someone else's
property after they have demanded its return is theft l_ook it up.

Regarding NE|'s computer, we have tried to return it to youl but you have not agreed to accept it. We tried
to deliver it to NEl right here in the building (as they are moving out) but they refused it, claiming they had
to talk to "their iawyer" first |W|LL NOT KEEP THiS COMPUTER |N Ti-iiS OFF|CE FOR ANOTHER
DAY. |t'S your choice, either NE| accepts it downstairs or | will personally deliver it to the DL.A Piper ofhce
at 1 pm AZ time today. Your choice lfl don't hear from you in the next two hours, l will make the choice

10/23/2009

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for you.

Candess J. i-lunterl Esq.

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---- Original lVlessage ----
From: "Dickinson, lVliche|le J."
To:

Sent: 10114/2009 5:31PN|
Subject: Re: NEi laptop

lsabel,

Our computer consultants have determined that there is no NEI data on the laptop that Joe returned to NEl a year ago.
Accordingly, we are prepared to make arrangements for the exchange of the laptops and imaging of the tower. Please
advise as to when Joe can get the tower out of storage for imaging so that we can set this up.

Michelle .i. Dickinson

DLA Piper LLP (US)

6225 Smith Avenue

Baltimore, Maryland 21209-3600
(410) 580-4137 Direct Phone
(410) 580-3137 Direct Fax
michelle.dickinson@d|apiper.com

AT'I`ORN EY WORK PRODUCT

----- Origina| Message -----

From: lsabel M Humphrey <isabel@hhylaw.com>
To: Dickinson, Michelle J`.

Sent: Wed Oct 14 14:49212 2009

Subject: RE: NE| laptop

Michelle, we are not comfortable continuing to hold onto NEI‘s laptop. I repeatedly tried to get instructions from you
to return it, and you would not give me the name of someone at NEI authorized to accept it. You said you would send
a computer consultant last week to pick it up, but we have heard nothing We just sent a staff member downstairs to
NEl's office to return it, and they refused to accept it. if you don't make other arrangements by the end of today, we
will put the laptop in a FedEx box and ship it to you.

in the meantime, Joe has contacted police regarding NEl's continued refusal to return his laptop.
isabel M. l-lumphrey, Esq.
HUNTER, HUMPHREY & YAVlTZ, PLC

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10/23/2009

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10/23/2009

